






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00165-CR






William Flores, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 427TH JUDICIAL DISTRICT

NO. D-1-DC-08-200535, HONORABLE JIM CORONADO, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N

PER CURIAM

		Appellant's brief was due in this Court on August 10, 2009.  On September 8, 2009,
we notified appellant's counsel that appellant's brief was overdue and that if we did not receive
a&nbsp;satisfactory response from counsel on or before September 18, 2009, a hearing before the
district&nbsp;court pursuant to Tex. R. App. P. 38.8(b) would be ordered.  To date, appellant's brief has
not been filed, nor have we received a response from counsel. 

		We therefore abate the cause and remand it to the district court to hold a hearing in
accordance with rule 38.8 of the rules of appellate procedure.  Tex. R. App. P. 38.8(b)(2), (3).  The
district court shall hold a hearing immediately to determine whether appellant still wishes to
prosecute his appeal, whether appellant is indigent, and whether counsel has abandoned the appeal. 
See id.  If appellant desires to appeal and is indigent, the district court should make appropriate
orders to ensure that appellant is adequately represented on appeal.  See id.  Following the hearing,
the district court should order the appropriate supplementary clerk's and reporter's records to be
prepared and forwarded to this Court no later than November 12, 2009.  See id.



Before Justices Patterson, Puryear and Pemberton

Abated 

Filed:   October 13, 2009

Do Not Publish




									


